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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

__________M.Mm.._____X
UNITED STATES OF AMERICA : Order Of COntinuanCe
- v. m : 18 Mag. 8861

NATALIE MAYFLOWER SOURS EDWARDS,

a/k/a “Natalie Sours,”

a/k/a “Natalie May Edwards,”

a/k/a “May Edwards,”

Defendant.

_______________________X

Upon the application of the United States of America and
the affirmation of Daniel C. Richenthal, Assistant United States
Attorney for the Southern District of New York, it is found that
NATALIE MAYFLOWER SOURS EDWARDS, the defendant, was arrested on or
about October l6, 2018, and was charged with violations of Title
18, United States Cod, Section 371, and Title 31, United States
Code, Section 5322, in a complaint dated October 16, 20l8;

It is further found that the defendant was presented
before a Magistrate Judge in the Eastern District of Virginia on
October 17, 2018, and was ordered released subject to certain
oonditions;

It is further found that the defendant appeared before
Magistrate Judge Sarah Netburn in the Southern District of New
York on November 2, 2018, and was ordered to remain on release

subject to certain conditions;

 

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lt is further found that Marc A. Agnifilo, Esq., counsel
for the defendant, and counsel for the Government have been engaged
in, and are continuing, discussions concerning a possible
disposition of this case;

It is further found that the Government has requested a
continuance of 30 days to engage in further discussions with
defense counsel about the potential disposition of this case and
that the defendant, through her counsel, has consented that such
a continuance may be granted for that purpose and.has specifically
waived her right to be charged in an indictment or information for
an additional 30 days; and

It is further found that the granting of such a
continuance best serves the ends of justice and outweighs the best
interests of the public and the defendant in a speedy trial; and
therefore it is

ORDERED that the request for a continuance pursuant to
18 U.S.C. § 3l6l(h)(7)(A) is hereby granted until January 4, 2019,
and that a copy of this Order and the affirmation of Assistant

United States Attorney Daniei C. Richenthal be served on this date

 

 

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on counsel for the defendant by' the United. States Attorney's
Office.

Dated: New York, New York
December 3, 2018

  

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UNITED sTATEs!MAcIsT TE JUDGE
SOUTHERN DISTRICTMQ NEw YORK

 

 

